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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA


                         Case No. 21-60125-CIV-Scola/Goodman

  ____________________________________
  JIANGMEN BENLIDA PRINTED
  CIRCUIT CO., LTD.,
                    Plaintiff,
  v.
  CIRCUITRONIX, LLC,
                    Defendant.
  ____________________________________




             Plaintiff Jiangmen Benlida Printed Circuit Co., Ltd.’s
           Motion in Limine (a) to Preclude Expert on Chinese Law and
           Testimony Related Thereto; and (b) to Preclude Testimony
                       Regarding Trade-Credit Insurance




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  August 8, 2023

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         Plaintiff Benlida, by and through its undersigned counsel and pursuant to the applicable

  Federal Rules of Evidence, including FRE 401, 402, 403, and 608, and the Federal Rules of Civil

  Procedure, along with this Court’s Scheduling Order [DE 153] and Southern District Local Rule

  7.1(a)(3), hereby files its motion in limine, and in support thereof states as follows:

  Point I:    Circuitronix’s Expert on Chinese Law, and Testimony
              Regarding Compliance with Tax, Customs, and Trade-Credit
              Regulations Should be Precluded.
         It is anticipated that defendant Circuitronix will seek to introduce at trial testimony

  concerning Benlida’s obligations with respect to, and Benlida’s compliance vel non with,

  Chinese foreign exchange and customs regulations, and its trade-credit reporting obligations.

  Such testimony, and argument predicated thereon, has no bearing on the matters at issue in this

  case, and would unduly complicate the case, to the prejudice of plaintiff Benlida.

         Defendant Circuitronix has disclosed as a proposed expert Professor Wei Cui, whose

  inconclusive report (exhibit “A” hereto), opines that there may have been sanctionable conduct

  by Benlida with respect to its obligations under Chinese foreign exchange and customs

  regulations, and trade-credit reporting obligations. The proposed expert would, apparently, opine

  as to the Chinese regulatory consequences of payments by CTX-US and CTX-HK to Benlida’s

  affiliate ROK. Such testimony, however, has no bearing upon any element of any claim or

  defense in this lawsuit.

         In this action, as the Court is aware, plaintiff Benlida seeks recovery for non-payment of

  invoices for goods purchased by CTX-US, or by CTX-HK for CTX-US, as alleged in Benlida’s

  third amended complaint. (DE 26). For its part, CTX-US asserts in its answer (DE 34), inter alia,

  that it has paid for the goods that were purchased, and that it is entitled to offsets due to non-

  compliance with contractual terms by Benlida.



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          In sum, the issues to be decided by the jury in this case will be: Did Circuitronix fail to

  make payment to Benlida for circuit boards that it purchased directly from Benlida, and that were

  purchased on its behalf by its Hong Kong affiliate CTX-HK, from Benlida? If so, how much

  does Circuitronix owe? And is Circuitronix entitled to offsets? Whether Benlida did or did not

  comply with Chinese foreign exchange and customs regulations and trade-credit reporting

  obligations has no bearing on whether Circuitronix or Benlida contractually owe each other

  money. It is not an issue that will be tried, and such testimony could only be offered for an

  improper purpose – to collaterally attack Benlida’s credibility.

          The anticipated testimony must be precluded, as it is well established that an expert

  witness may not present testimony regarding such collateral issues. See United States v.

  Herzberg, 558 F.2d 1219, 1223 (5th Cir. 1977) (“Prior wrongful acts not resulting in a criminal

  conviction ordinarily are ‘collateral matters’.”). Here, there is no evidence of any criminal

  conviction of plaintiff Benlida, nor is there any evidence that the Chinese government has even

  tried to sanction it.

          In Torres v. Rock & River Food, Inc., 2016 U.S. Dist. LEXIS 190559 (S.D. Fla. Docket

  No. 15-cv-22882, May 11, 2023) (Scola, J.), 1 Your Honor held that a plaintiff who had brought

  suit against his employer for FLSA violations could not be questioned at trial about his failure to

  pay taxes on his income, because:

          1. “Here, the ‘Plaintiff's wrongdoing—failing to pay federal income taxes on wages
             already earned—is in no way connected with the Defendants' alleged failure to
             properly compensate Plaintiff.’ Solano v. A Navas Party Produc., Inc., 728 F. Supp.
             2d 1334, 1339-40 (S.D. Fla. 2010) (Altonaga, J.)” Id. at *5.
          2. “‘[W]hile such evidence might speak to the Plaintiffs' credibility, the dangers of
             unfair prejudice, confusion of the issues, and misleading of the jury are too


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   See also Puerto v. Moreno, 2021 U.S. Dist. LEXIS 123081 (S.D. Fla. Docket No. 19-cv-25282)
  (Scola, J.)
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             great.’ Galdames v. N&D Inv. Corp., 2010 U.S. Dist. LEXIS 43022, 2010 WL
             1330000, at *4-5 (S.D. Fla. March 29, 2010) (Cooke, J.)” Id. at *7.
         3. “In this case, the Court is not faced with a plaintiff who falsified tax returns or was
            convicted of tax fraud or tax evasion. Although the Court does not condone the
            Plaintiff's actions, his failure to pay income taxes has only minor probative value to
            his character for truthfulness. That probative value, however, is substantially
            outweighed by confusion of the issues and misleading the jury.” Id. at *7.
         4. “(‘[G]iven the facts of this case as a whole, the undersigned concludes that
            Defendants shall be precluded from suggesting that Plaintiffs failed to pay income
            taxes because such evidence will likely create undue prejudice in the minds of the
            jurors; and, it will likely give rise to collateral disputes—including the extent of
            Plaintiffs' reporting obligations regarding such taxes—that will cause undue delay
            and confusion of the issues.’) (emphasis added); Galdames, 2010 U.S. Dist. LEXIS
            43022, 2010 WL 1330000, at *4-5 (‘[E]vidence of the Plaintiffs' alleged failure to file
            federal tax returns—to challenge the Plaintiffs' credibility—would give rise to
            collateral disputes about whether the Defendants knowingly hired undocumented
            aliens as employees in contravention of federal law, and whether the Defendant
            deducted the proper amount of payroll taxes from its tax returns.’).” Id. at *8.

         Here, as the report of Professor Cui shows, Circuitronix’s strategy is to convey to the jury

  that Benlida “may be sanctionable [sic] for violations of the Exporter-Payee Identity Principle,

  when it instructed amounts due BLD to be paid to ROK” (Ex. A, p. 1), and also to show that

  Benlida “may be sanctionable [sic] for violations of the Trade Credit Reporting Requirement….”

  (Ex. A, p. 2). But such testimony would not have any tendency to make any fact of consequence

  in resolving this action more or less probable than it would be without the evidence (see FRE

  401), as it would have no bearing on whether Circuitronix did or did not pay money that was

  owed, or whether it is entitled to any offset due to Benlida’s alleged failure to comply with any

  contractual obligations. Assume for sake of analysis that Benlida violated both of the Chinese

  regulatory principles: Even assuming that, Circuitronix’s debt to Benlida would not decrease by

  a single penny, nor would Circuitronix gain the right to a single penny of offset.

         Moreover, the parties agreed that Florida law shall be the governing law for the

  resolution of this lawsuit. The 2012 contract between Benlida and Circuitronix, which governs

  this dispute, provides: “13.4 Governing Law; Venue. This Agreement shall be governed by and
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  construed in accordance with the laws of the State of Florida, excluding its conflict of laws

  provisions thereof.” (See DE 15-1). The subsequent 2016 letter agreement, signed by Benlida

  and Circuitronix, also contains a Florida choice-of-law provision. (See DE 15-2). “5. This

  Agreement shall be governed by and construed in accordance with the laws of the State of

  Florida or, at the option of CTX USA, the laws of any jurisdiction in which CTX USA

  commences any suit, action or proceedings relating to this Agreement ("Proceedings") (other

  than such jurisdiction's rules of conflicts of laws to the extent that the laws of another jurisdiction

  would be required thereby).”

         Yet the report of the professor would bring into the case a sideshow about the regulatory

  law of China, as Professor Cui postulates (Ex. A, p. 2):

         It should be noted that it is not clear whether Chinese government authorities
         would sanction BLD’s violations of the Exporter-Payee Identity Principle and the
         Trade Credit Reporting Requirement per se. Any government sanction may
         depend on whether such violations lead to other consequences that the
         government deems undesirable or sanctionable.
                                               ***
         [F]urther examination may also reveal other Chinese legal rules and regulatory
         practices that BLD’s conduct may be in violation of. This report does not address
         such other issues.
                                                  ***
         This report merely identifies some features of the Chinese regulatory framework
         in light of which BLD’s conduct may be assessed. In view of the outstanding
         nature of the Discovery Materials, I am unable to reach any conclusions regarding
         BLD’s compliance (or lack thereof) with such framework. Nor does this report
         purport to identify all features of Chinese regulations that may be implicated by
         the dispute between BLD and CTX.

         This is to say, Professor Cui has drawn no conclusion that Benlida would be subject to

  any penalties in China, and yet he would be presented at trial to show off his academic expertise

  about Chinese regulatory law – even though such law has no bearing on whether Circuitronix

  owes or does not owe any money to Benlida, and even though the parties agreed that Florida law


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  would govern this case. Rather, Professor Cui would merely pontificate about whether Chinese

  regulatory authorities would sanction Benlida.

         “The law is well settled that it is improper to litigate purely collateral matters solely for

  the purpose of impeaching a party or witness.” General Motors Corp. v. McGee, 837 So.2d

  1010, 1036 (Fla. 4th DCA 2002) (citation omitted). Inadmissible collateral evidence is “neither

  (1) relevant to prove an independent fact or issue nor (2) would discredit a witness by

  establishing bias, corruption, or lack of competency on the part of the witness.” Strasser v.

  Yalamanchi, 783 So.2d 1087, 1095 (Fla. 4th DCA 2001) (citation omitted). Moreover, FRE

  608(b) prohibits the use of extrinsic evidence to “prove specific instances of a witness’s conduct

  in order to attack or support the witness’s character for truthfulness.” Questioning plaintiff

  Benlida’s witnesses on whether or not it complied with Chinese foreign exchange and customs

  regulations and trade-credit reporting requirements would be a sideshow, as such testimony

  would be irrelevant to whether Circuitronix owes Benlida the money claimed in this lawsuit.

         Furthermore, turning to FRE 403, any relevance in the expert’s report and anticipated

  testimony would be substantially outweighed by its potentially prejudicial effect and risk of

  confusing the issues to be tried, just as in a pay dispute suggesting that a plaintiff’s failure to pay

  income taxes would be unduly prejudicial and would confuse the issues to be tried. Ortiz v.

  Santuli Corp., 2009 U.S. Dist. LEXIS 7273l, pp. 3-4 (S.D. Fla. Docket No. 08-cv-20218)

  (Simonton, Mag. J.) (plaintiff sued employer for unpaid wages; the court restricted defendant

  from suggesting at trial that plaintiff had failed to pay income tax on past wages received).

         Benlida’s relationships with Chinese regulatory agencies and trade creditors are

  emphatically not issues for trial. And given the inconclusiveness of the professor’s report,

  anything in the report that may be called relevant is still of negligible, if any, probative value. If



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  Circuitronix will use Professor Cui to show that Benlida was trying to cheat the Chinese

  government, what little probative value (if any) of such testimony will be substantially

  outweighed by the waste of time – due to the direct examination, cross-examination, and re-

  direct examination on unspecified Chinese regulations and the discretion of the regulatory

  authorities – and by the excessive prominence given to paperwork and reporting issues, none of

  which have any bearing on the dispute in this case. Moreover, plaintiff Benlida will be

  prejudiced by the insinuation that it has violated, or “may have” (as Professor Cui says) violated,

  Chinese regulations.

         As plaintiff Benlida’s compliance or non-compliance with the laws of China is entirely

  collateral, and as eliciting testimony regarding same would unduly complicate the trial, and

  prejudice Benlida should defendant attempt to elicit testimony that Benlida was in any way in

  violation of Chinese regulatory law, such testimony, and the proposed testimony of Professor

  Cui in regard thereto, as well as any questioning of the lay witnesses in such regard, should be

  precluded.

  Point II:    Testimony and Documents Regarding Benlida’s Trade-Credit
               Insurance Coverage Should be Precluded.
         China Export & Credit Insurance Corp. (a/k/a “Sinosure”) is Benlida’s trade-credit

  insurer. A trade-credit insurer is a company that agrees to indemnify the policyholder, here

  Benlida, for losses arising from the policyholder’s customers’ nonpayment for goods and

  services. See Ario v. Ingram Micro, Inc., 965 A. 2d 1194 (PA Sup. Ct. 2009); see also

  https://www.trade.gov/export-credit-insurance. In this case, it is alleged that Circuitronix failed

  to pay for circuit boards that it purchased from Benlida. Introducing testimony or documents

  showing that Benlida has trade-credit insurance with Sinosure can have no bearing on whether

  Circuitronix actually owes the monetary damages claimed, and would prejudice Benlida, as such


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  evidence could leave the jury with the misimpression that Benlida could simply look to Sinosure

  for payment of the moneys that it claims in this lawsuit. Additionally, introducing such testimony

  would unduly complicate the case, because (a) Benlida would then be required to introduce

  evidence that any recovery that it obtains against Circuitronix for which Benlida has been

  indemnified would have to be repaid to Benlida; and (b) Benlida would be required to present

  testimony that the amount it claimed from Sinosure was less than the full value of the claim due

  to the coverage terms, leaving the jury with the misimpression that Circuitronix does not actually

  owe the full amount claimed in this lawsuit.

         “[T]here is no question that evidence concerning either [party’s] insurer, any insurance

  available to the parties, or payments made by insurance companies, should be excluded under

  Federal Rule of Evidence 411.” Jetport, Inc. v. Miami, 1:16-cv-23303-UU, 2017 U.S. Dist.

  LEXIS 228492 *5-6, (S.D. Fla. 2017). Under FRE 411, insurance is not admissible as evidence

  to prove that an individual acted “negligently or otherwise wrongfully,” though it may be used

  for other purposes “such as proving a witness’s bias or prejudice or proving agency, ownership,

  or control.” FRE 411. These exceptions do not apply here.

         Testimony regarding insurance must also be excluded under the collateral-source rule,

  which is followed by the Southern District of Florida and the State of Florida. See FDIC v. Prop.

  Transfer Servs., Inc., No. 12-80533-CV, 2013 U.S. Dist. LEXIS 144663, at *56-58 n.31 (S.D.

  Fla. 2013). The collateral-source rule provides that “compensation for injuries from a source

  wholly independent of the tortfeasor is not deducted from the damages recovered against the

  tortfeasor,” for admitting evidence of insurance payments or benefits “is considered

  unquestionably prejudicial to the plaintiff’s case.” Cowley v. Sunset Yacht Charters, No. 10-

  61928-CIV, 2011 U.S. Dist. LEXIS 80216, at *2 (S.D. Fla. 2011) (quoting Southern v. Plumb



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  Tools, 696 F.2d 1321, 1323 [11th Cir. 1983]) (internal quotations omitted); Gormley v. GTE

  Prods., 587 So. 2d 455, 457-458 (Fla. 1991); see generally Camps v. Bravo, No. 1:20-cv-24294-

  Louis, 2023 U.S. Dist. LEXIS 118933, at *21 (S.D. Fla. 2023). Here, Circuitronix has no need to

  introduce testimony that Benlida had placed trade-credit insurance with Sinosure. Because such

  information would be highly prejudicial, and would unduly complicate this case, it must be

  precluded.

                                             Conclusion
         Wherefore, it is respectfully submitted that the Court should issue an order, in sum and

  substance in the form submitted herewith as exhibit “B,” precluding defendant Circuitronix from

  questioning Benlida witnesses about compliance vel non with Chinese regulatory law, and from

  introducing Professor Wei Cui to testify at trial regarding such matters, and from introducing

  testimony or documentation regarding Benlida’s trade-credit insurance.

                          Certification Regarding Pre-Filing Conference
         Pursuant to Local Rule 7.1(a)(3), undersigned counsel for Benlida certifies that we have

  conferred via video conference and via email with counsel for defendant Circuitronix in a good-

  faith effort to reach agreement on the issues raised in this motion, and we have been unable to do

  so. Counsel for Circuitronix does not consent to the relief sought herein.

  Dated: New York, New York
         August 8, 2023

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